        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 1 of 42



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT
MICHAEL AMATO, et al.,                                :            3:20-cv-00464-MPS
     Plaintiffs,                                      :
             v.                                       :
MAYOR JUSTIN ELICKER, et al.                          :
     Defendants.                                      :            July 8, 2020
     Defendant Governor Lamont’s Memorandum in Support of his Motion to Dismiss
                        Plaintiffs’ Second Amended Complaint

       Connecticut is in the midst of responding to a pandemic of COVID-19, a novel and

deadly disease. The Supreme Court has long held—and recently reiterated—that the United

States Constitution gives the Governor the primary authority, and especially broad latitude, to

respond to the pandemic and that courts should not second-guess his decisions unless they are

clearly outside the bounds of that latitude. Second-guessing is precisely what Plaintiffs ask this

Court to engage in here, based on a minimal factual and legal basis. This Court should dismiss

Plaintiffs’ claims against the Governor in their entirety.

                        Plaintiffs’ Allegations and Factual Background
I.     Plaintiffs’ Allegations in their Second Amended Complaint

       Plaintiffs are Joy Monsanto, Michael Amato, and 50’s Lounge, LLC, a restaurant with a

full-service liquor license that Plaintiff Monsanto and Plaintiff Amato own and operate. Second

Amended Complaint, ¶¶ 2-4, 9 & 11 (ECF No. 41) (“2dAC”). Plaintiffs acknowledge that these

times are “unprecedented,” id. at ¶ 1, due to “the Coronavirus crisis that began to take hold in

Connecticut” in March 2020 and led Plaintiffs—in the best interest of “their business, their

employees, and the community they served”—to “close 50’s Lounge for business on March 15,

2020.” Id. at ¶ 13. Consistent with that allegation, Plaintiff Monsanto represented to “concerned

citizens, elected officials, and newspaper reporters” that Plaintiffs’ closure of 50’s Lounge was

“voluntary” and “implemented to help flatten the curve of the coronavirus outbreak.” Id. at ¶ 14.

                                                  1
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 2 of 42



       “Plaintiffs . . . closed proactively on March 15.” Id. at ¶ 18. The only Order the Governor

had issued at that time that is referenced in the Complaint was a March 12, 2020 Order “banning

large gatherings of 250 people or more for social and recreational events including community

and civic events.” Id. at ¶ 19. However, Plaintiffs allege that “[a]fter carefully considering the

situation, Plaintiffs decided that any risks associated with coronavirus were nominal and that

they would fully reopen their business approximately a week after they voluntarily closed it.” Id.

at ¶ 24. According to Plaintiffs, they decided not to reopen at all because of the Governor’s

Orders (even though the Orders allowed restaurants and bars to reopen for some purposes, see id.

at ¶¶ 20-21) and their inability to fully reopen is damaging their business. See id. at ¶¶ 26-28.

       Plaintiffs’ Complaint has twelve Counts. Only Counts Eight through Twelve are directed

at the Governor. See id. at pp. 11-14. Count Eight alleges violations of Plaintiffs’ rights of

assembly under the First Amendment, and Article First, § 14 of the Connecticut Constitution.

See id. at ¶¶ 64-66. Count Nine alleges violations of Plaintiffs’ rights of freedom of association

under the First, Ninth, and Fourteenth Amendments, and Article First, §§ 8 and 14 of the

Connecticut Constitution. See id. at ¶¶ 67-73. Count Ten alleges violations of Plaintiffs’

constitutional rights to pursue a living under the Privileges or Immunities and Due Process

Clauses of the Fourteenth Amendment, as well as Article First, § 8 of the Connecticut

Constitution. See id. at ¶¶ 74-77. Count Eleven alleges violations of Plaintiffs’ right to receive

compensation for a taking of property under the Fifth Amendment, and Article First, § 11 of the

Connecticut Constitution. See id. at ¶¶ 78-80. Finally, Count Twelve alleges violations of due

process under the Fourteenth Amendment. See id. at ¶¶ 81-83.

       Plaintiffs seek compensatory damages from Governor Lamont. Id. at ¶ 86. Plaintiffs also

ask this Court to issue “[a] declaratory judgment invalidating Governor Lamont’s restrictions on

                                                  2
         Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 3 of 42



businesses and gatherings as unconstitutional and an injunction permanently staying their

enforcement.” Id. at p. 15, ¶ D. Plaintiffs further indicate that they want a jury trial. Id. at 15.

II.      The Changes to the Governor’s Executive Orders that Impact Plaintiffs’ Claims

         Plaintiffs’ allegations in their Second Amended Complaint are based on the same four

Executive Orders (“the Orders”) that the Governor issued in the time period between March 16th

and March 26, 2020 that were the basis for Plaintiffs’ Original Complaint. 2dAC, ¶¶ 19-22

(referencing the Orders that form the basis for Plaintiffs’ claims); see also Challenged Orders

(A-1-19). Those are:

      the Governor’s orders on March 12 (Executive Order 7, banning ‘gatherings of 250
      people or more for social and recreational activities’), March 16 (Executive Order 7D,
      banning ‘gatherings of 50 or more people’ and limiting restaurants and bars to serving
      foods and beverages for off-premises consumption), March 19 (Executive Order 7G,
      clarifying that bars and restaurants may sell alcoholic liquor for off-premise consumption
      under certain circumstances), and March 26 (Executive Order 7N, banning ‘social and
      recreational gatherings . . . of six (6) or more people’).

Amato v. Elicker, 2020 WL 2542788, at *1 n.1 (D. Conn. May 19, 2020) (Shea, J.) (ECF No. 32)

(quoting the referenced Orders). Key aspects of the Orders are no longer operative. Specifically,

the Orders regarding restaurant and bar operations Plaintiffs reference in paragraphs 21 and 22

have been modified in several respects, most recently in Executive Order ZZ (issued on June

16th), to allow indoor dining subject to safety rules. (A-24, 27, 31). In addition, Order ZZ

authorized the Department of Economic and Community Development (“DECD”) to establish

legally binding “Rules for Gatherings and Venues” and “Sector Rules for Outdoor Events” (the

“Rules”). Current Rules authorize indoor gatherings of up to 25 people and outdoor gatherings

of up to 100 people. (A-28).

         Although those changes went into effect before Plaintiffs filed their Second Amended

Complaint, Plaintiffs’ do not reference those changes or allege any facts to support a conclusion

                                                   3
         Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 4 of 42



that Plaintiffs are impacted by any restrictions that remain and, if so, how. Notably, although

Plaintiffs allege that they voluntarily and temporarily closed before any of the Orders required

Plaintiffs to limit their business (2dAC, ¶ 23), and that they are harmed by the Governor’s

“prohibitory bar on their reopening,” 2dAC, ¶ 26, Plaintiffs’ Complaint correctly acknowledges

that the Orders did not completely prohibit Plaintiffs from re-opening. 2dAC, ¶¶ 20-21.

                                          Procedural Background

        Plaintiffs filed their Original Complaint on April 3, 2020. (ECF No. 1). A week later,

they filed a Motion for a Temporary Restraining Order or Preliminary Injunction (“TRO/PI

Motion”). (ECF No. 11). The Governor filed both an Opposition to Plaintiffs’ Motion and a

Motion to Dismiss Plaintiffs’ Original Complaint on April 27, 2020. (ECF Nos. 21 & 22). The

deadline for Plaintiffs to respond to the Governor’s Motion to Dismiss was May 18, 2020. (ECF

No. 22). Plaintiffs did not file a response or amend their Complaint by that date.

        On May 19, 2020, Plaintiffs filed a putative Amended Complaint. 1 On the same date, this

Court denied Plaintiffs’ TRO/PI Motion. Amato, 2020 WL 2542788 (ECF No. 32). On May 20,

2020, the Court denied the Governor’s initial Motion to Dismiss without prejudice and Ordered

that the Governor could file a renewed Motion to Dismiss on or before June 10, 2020. (ECF No.

33). The Court later Ordered that Plaintiffs make any amendments to their Complaint by June 17,

2020 and Ordered that it would “not allow further amendments of the Complaint” after that

date. (ECF No. 35) (emphasis in the Order). As a result, the Governor requested—and this Court

granted—an extension of time through July 8, 2020 in which to respond to Plaintiffs’ then-

operative Complaint (which is Plaintiffs’ Second Amended Complaint, ECF No. 41).


1
  Plaintiffs’ first Amended Complaint was filed outside the time permitted under Rule 15(a)(1)(B) and therefore was
arguably “a nullity, and not an operative pleading” because Plaintiffs neither sought opposing counsel’s consent nor
filed a motion requesting this Court’s leave to amend. Sivokonev v. Cuomo, 2020 WL 1316494, at *3 (W.D.N.Y.
Mar. 19, 2020). However, the Court treated it as operative and gave Plaintiffs a second opportunity to amend.
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        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 5 of 42



                                             Argument

I.     The Standard for this Motion to Dismiss

       This Motion is pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). “A district court

properly dismisses an action under Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction

if the court lacks the statutory or constitutional power to adjudicate it.” Cortlandt St. Recov.

Corp. v. Hellas Tel., 790 F.3d 411, 416-17 (2d Cir. 2015) (quotation marks and citation omitted).

       “A plaintiff asserting subject matter jurisdiction has the burden of proving by a

preponderance of the evidence that it exists.” Makarova v. United States, 201 F.3d 110, 113 (2d

Cir. 2000). To meet that burden, a plaintiff “must allege facts that affirmatively and plausibly

suggest that it has standing to sue” and the court “need not ‘credit a complaint’s conclusory

statements without reference to its factual context.’” Amidax Trading Grp. v. S.W.I.F.T. SCRL,

671 F.3d 140, 145 & 146 (2d Cir. 2011) (Per Curiam) (quoting Ashcroft v. Iqbal, 556 U.S. 662,

129 S. Ct. 1937, 1954 (2009)). Where a defendant files a Rule 12(b)(1) motion, the court “may

refer to evidence outside the pleadings” to decide the motion. Id. Although the court accepts all

material factual allegations in the complaint as true, it cannot draw inferences from the complaint

favorable to the plaintiff or rely on conclusory statements in the Complaint. See, e.g., J.S. ex rel.

N.S. v. Attica Cent. Sch., 386 F.3d 107, 110 (2d Cir. 2004) (“J.S.”) (citing Shipping Fin. Servs.

Corp. v. Drakos, 140 F.3d 129, 131 (2d Cir. 1998)).

       To survive a 12(b)(6) motion, “a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Nielsen v. Rabin, 746 F.3d

58, 62 (2d Cir. 2014) (quotation marks omitted). This Court must “accept as true all factual

allegations and draw from them all reasonable inferences; but [it is] not required to credit

conclusory allegations or legal conclusions couched as factual allegations.” Id. (quotation marks

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         Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 6 of 42



omitted). 2

II.      The Eleventh Amendment Bars Most of Plaintiffs’ Claims Against the Governor in
         his Official Capacity

         Plaintiffs sue the Governor under both federal and state law “in his individual and official

capacity,” 2dAC, ¶ 7, seeking damages, id. at ¶ 86, as well as “[a] declaratory judgment

invalidating Governor Lamont’s restrictions on businesses and gatherings as unconstitutional and

an injunction permanently staying their enforcement.” Id. at p. 15, ¶ D. Even after Plaintiffs have

had two opportunities to amend after the Governor filed his initial Motion to Dismiss, Plaintiffs

still do not make clear which claims Plaintiffs bring in which capacity.

         This Court should dismiss the Complaint to the extent, if any, it could be construed as

asserting official capacity damages claims against the Governor. “The Eleventh Amendment bars

the award of money damages against state officials in their official capacities.” Ford v. Reynolds,

316 F.3d 351, 354 (2d Cir. 2003). 3 That bar applies to all of Plaintiffs’ claims regardless of

whether they are based on federal or state law. See, e.g., Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 102 (1984) (“Pennhurst”).

         That includes Plaintiffs’ takings claims in Count Eleven. Every “court of appeals to have

decided the question has held that the Takings Clause does not override the Eleventh

Amendment.” Hutto v. S.C. Ret. Sys., 773 F.3d 536, 553 (4th Cir. 2014) (citing cases); see also

Nat’l R.R. Passenger Corp. v. McDonald, 978 F. Supp. 2d 215, 227–35 (S.D.N.Y. 2013), aff’d

on other grounds, 779 F.3d 97 (2d Cir. 2015) (holding that the Eleventh Amendment barred

2
  Five days after filing their Original Complaint, the individual Plaintiffs filed Affidavits, which Plaintiffs do not
refer to in the Second Amended Complaint. This Court should not consider those Affidavits when deciding this
Motion. See Williams v. PMA Cos., Inc., 419 F. Supp. 3d 471, 483 (N.D.N.Y. 2019) (“While district courts in the
Second Circuit may consider such belated attachments when deciding a motion to dismiss for failure to state a claim
if the plaintiff is proceeding pro se, here Plaintiff is not proceeding pro se.”). In any event, Plaintiffs’ Affidavits
were conclusory and provided no basis to rebut any of the arguments in this Memorandum.
3
  A Rule 12(b)(1) motion is the correct vehicle to raise the Eleventh Amendment. See, e.g., Dube v. State Univ. of
N.Y., 900 F.2d 587, 594 (2d Cir. 1990)).
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         Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 7 of 42



takings claims, applying Knight v. New York, 443 F.2d 415 (2d Cir. 1971)). 4 Consistent with

those appellate decisions, a district court recently held that the Eleventh Amendment bars takings

claims arising out of a Governor’s Executive Orders in response to the COVID-19 pandemic.

Martinko v. Whitmer, 2020 WL 3036342, at *2 n.2 (E.D. Mich. June 5, 2020).

         The Eleventh Amendment also bars two separate categories of Plaintiffs’ claims seeking

equitable relief. The first barred category is Plaintiffs’ official capacity claims to the extent they

seek retrospective, as opposed to prospective, equitable relief based on alleged federal

constitutional violations.5 The Supreme Court has long held that “[t]he Eleventh Amendment

bars federal courts from issuing retrospective declaratory relief against state officials for past

violations of federal law.” Szymonik v. Connecticut, 2020 WL 1650329, at *3 (2d Cir. Apr. 3,

2020) (Summary Order) (citing cases including Green v. Mansour, 474 U.S. 64 (1985)). The

same is true of retrospective injunctive relief. See, e.g., Bonilla v. Semple, 2016 WL 4582038, at

*3 (D. Conn. Sept. 1, 2016) (Bolden, J.) (citing Edelman v. Jordan, 415 U.S. 651, 663-68 (1974),

and Pennhurst, 465 U.S. at 105). Therefore, the Eleventh Amendment bars Plaintiffs’ claims to

the extent they ask this Court to declare that Orders, or portions of Orders, that are no longer

operative violated the federal Constitution. See, e.g., Green, 474 U.S. at 68-74 (holding that the

Eleventh Amendment barred claims as retrospective where the law changed post-filing to render

prospective relief unnecessary).

         The second category of Plaintiffs’ official capacity equitable claims the Eleventh

Amendment bars is Plaintiffs’ claims asking this Court to declare the Orders inconsistent with

4
  Those decisions remain good law. See, e.g., Bay Point Properties, Inc. v. Mississippi Transp. Comm’n, 937 F.3d
454, 456 (5th Cir. 2019), cert. denied sub nom., 2020 WL 1496635 (U.S. Mar. 30, 2020) (holding that Knick v. Twp.
of Scott, Pennsylvania, 139 S. Ct. 2162 (2019), did not alter Eleventh Amendment takings precedent).
5
  To the extent Plaintiffs seek declaratory and injunctive relief against the Governor in his individual capacity, this
Court should dismiss any such claims because that relief is not available against a state official in his individual
capacity. See, e.g., Thurmand v. Univ. of Connecticut, 2019 WL 369279, at *3–4 (D. Conn. Jan. 30, 2019) (Hall, J.)
(citing cases, including Frank v. Relin, 1 F.3d 1317, 1327 (2d Cir. 1993)).
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         Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 8 of 42



the Connecticut Constitution and enjoin their enforcement on that basis. The Eleventh

Amendment bars claims where “a plaintiff alleges that a state official has violated state law.”

Pennhurst, 465 U.S. at 106 (emphasis in Pennhurst); see also Raygor v. Regents of Univ. of

Minnesota, 534 U.S. 533, 541–42 (2002) (holding that the supplemental jurisdiction statute does

not “authorize district courts to exercise jurisdiction over claims against nonconsenting States”).

It is well-established that “a federal court may not sit in judgment of whether a State or a State

official has complied with its own law.” Dennehy v. Soto, 2018 WL 4936003, at *2 (D. Conn.

Oct. 11, 2018) (Shea, J.) (citing Pennhurst, 465 U.S. at 106).

III.    Plaintiffs’ Claims for Declaratory and Injunctive Relief are Moot

        Plaintiffs’ claims against the Governor are based on four Orders that the Governor issued

in the time period between March 16th and March 26, 2020. 2dAC, ¶¶ 19-22 (referencing the

Orders that form the basis for Plaintiffs’ claims); see also Challenged Orders (A-1-19). Key

aspects of the challenged Orders are no longer operative. Specifically, the Orders regarding

restaurant and bar operations Plaintiffs reference in paragraphs 21 and 22 have been modified in

several respects, most recently in Executive Order ZZ (issued on June 16th), to allow indoor

dining subject to safety rules. (A-24, 27, 31). In addition, DECD Rules currently permit indoor

and outdoor gathering of 25 and 100 people respectively. (A-28)

        That renders Plaintiffs’ prospective claims moot. In denying Plaintiffs’ TRO/PI Motion,

this Court recognized that challenges to local COVID-19 Orders become moot if and when the

challenged Orders are superseded by a new state Order. See Amato 2020 WL 2542788, at *4. 6

Other courts have reached similar conclusions as to superseding state Orders. See, e.g., Maryville

Baptist Church, Inc. v. Beshear, 957 F.3d 610, 612 (6th Cir. 2020) (noting that a case
6
  Conn. Citizens Def. League, Inc. v. Lamont, 2020 WL 3055983, at *7–9 (D. Conn. June 8, 2020) (Meyer, J.), is not
to the contrary. There, the defendants argued that a challenge became moot based on a voluntary change in agency
conduct before a change in the controlling Executive Order.
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         Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 9 of 42



challenging a Governor’s COVID-19 Orders as applied to a church would “become moot . . .

when the Governor has agreed to permit places of worship to reopen”); Ministries v. Newsom,

2020 WL 2991467, at *2–3 (S.D. Cal. June 4, 2020) (denying a motion for preliminary

injunction as moot where the challenged Orders were superseded by new Orders); Cameron v.

Beshear, 2020 WL 2573463, at *2 (E.D. Ky. May 21, 2020) (holding that a challenge to an

Order became moot, and that neither the voluntary cessation exception nor the capable or

repetition yet evading review exception avoided mootness); Spell v. Edwards, 2020 WL

2509078, at *5–6 (M.D. La. May 15, 2020) (holding challenge to an Order moot). 7

        Those decisions are consistent with Second Circuit precedent. See, e.g., E.I. Dupont de

Nemours Co. v. Invista B.V., 473 F.3d 44, 47 (2d Cir. 2006); Altman v. Bedford Cent. Sch. Dist.,

245 F.3d 49, 71 (2d Cir. 2001); Murphy, 270 F.2d at 421. The Governor hopes that Connecticut

will continue its progress against COVID-19 and that he will never need to re-instate restrictions

like the challenged restrictions in the future. But it would be impossible—and irresponsible—for

the Governor to “state with certainty” to this Court that it will “never be necessary” to re-impose

restrictions in the future if there is resurgence of the virus. Murphy, 270 F.2d at 420.

        Plaintiffs’ request that this Court enjoin the now-superseded restrictions is still moot; “the

mere possibility that at some future date conduct similar to that engaged in by the defendants in

the past may again be contemplated is not sufficient to prevent a dismissal for mootness.” Id.

(citing United States ex rel. Norwegian Nitrogen Products Co. v. United States Tariff

Commission, 274 U.S. 106 (1927)). The nature of any future response to the virus “will be

redetermined,” id. at 421, by the Governor based on the circumstances that exist at that time in

the exercise of his primary constitutional authority to protect people in Connecticut from
7
 At least one court has held that the voluntary cessation exception to mootness applied to a Governor’s change to a
COVID-19 Order. See Antietam Battlefield KOA v. Hogan, 2020 WL 2556496, at *4–5 (D. Md. May 20, 2020).
Hogan is inconsistent with Second Circuit authority. See, e.g., Murphy v. Benson, 270 F.2d 419, 421 (2d Cir. 1959).
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        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 10 of 42



infectious disease. See, e.g., S. Bay United Pentecostal Church v Newsom, 140 S. Ct. 1613, 1613

(2020) (“S. Bay”) (Roberts, C.J., concurring in denial of application for injunctive relief) (“Our

Constitution principally entrusts ‘[t]he safety and the health of the people’ to the politically

accountable officials of the States ‘to guard and protect.’” (quoting Jacobson v. Commonwealth

of Mass., 197 U.S. 11, 38 (1905)). The deference Jacobson gives the Governor in these

circumstances further counsels against this Court reaching out to decide issues that are moot—if

this Court rules now in a factual vacuum, it could unwittingly constrain the Governor’s

constitutional authority to respond to future spikes in this novel disease in ways that could be

deadly for reasons that are not evident to anyone at this point. See id.

IV.      Plaintiffs Have Not Met Their Burden to Show Standing for Any of their Claims

         To the extent, if any, Plaintiffs’ claims are not moot, this Court has already correctly held

that “[t]he injuries that the Plaintiffs assert as a result of Executive Order No. 7D are financial

injuries to their business” and that “[o]nly the 50’s Lounge, therefore, has standing to recover for

its financial injuries.” Amato, 2020 WL 2542788, at *5. That requires dismissal of the individual

Plaintiffs’ claims to the extent they are based on financial injuries. See id. 8

         That leaves the financial claims as to 50’s Lounge and the individual Plaintiffs’ claims to

the extent, if any, their claims are independent of claimed financial injury to 50’s Lounge. 50’s

Lounge does not have standing to assert many of the federal constitutional rights on which

Plaintiffs’ claims are based. Although LLCs and similar entities have standing to assert some

rights, “not all constitutional protections apply to corporations or apply as fully as they do to



8
  The distinction between mootness and standing hinges on the state of the real-world facts at the time Plaintiffs filed
their Original Complaint. See, e.g., Fed. Defs. of New York, Inc. v. Fed. Bureau of Prisons, 954 F.3d 118, 126 (2d
Cir. 2020) (“Fed. Defs.”) (noting that standing is based on “whether the party invoking jurisdiction had the requisite
stake in the outcome when the suit was filed” (emphasis in Fed. Defs.)). As the Governor will discuss in more detail
below, Plaintiffs’ amendments did not cure Plaintiffs’ lack of standing.
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        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 11 of 42



natural persons.” 9 Consol. Edison Co. of New York v. Pataki, 292 F.3d 338, 347 (2d Cir. 2002).

This is because the Constitution contains “[c]ertain ‘purely personal’ guarantees [that] are

unavailable to corporations and other organizations because the ‘historic function’ of the

particular guarantee has been limited to the protection of individuals.” Id. (quoting First Nat’l

Bank of Boston v. Bellotti, 435 U.S. 765, 778 n.14 (1978)). “Whether a right is purely personal

‘depends on [its] nature, history, and purpose.’” Id. (quoting Bellotti, 435 U.S. at 778 n.14).

        Here, Count Eight alleges violations of the right of assembly under the First Amendment.

2dAC, ¶¶ 64-66. The LLC lacks standing to assert this claim because “a corporation cannot be

deprived of freedom . . . of assembly.” Merco Properties, Inc. v. Guggenheimer, 395 F. Supp.

1322, 1325 (S.D.N.Y. 1975) 10 (citing Hague v. C.I.O., 307 U.S 496, 527 (1939) (opinion of

Stone, J.; see also opinion of Roberts, J., id., at 514)). This conclusion is unsurprising, as the

First Amendment’s text indicates that the right of assembly is a personal right—the Amendment

protects “the right of the people to peaceably assemble.” U.S. Const., Amend. I.

        With respect to Count Nine, Plaintiffs make a conclusory allegation that the Orders pose

an “undue burden” on their “right to freely associate with their customers and friends.” 2dAC, ¶¶

67-73. The right to associate with customers and friends would fall under the “intimate

association” line of cases. See Adler v. Pataki, 185 F.3d 35, 42 (2d Cir. 1999). Because this

intimate association right “receives protection as a fundamental element of personal liberty,”

Roberts v. U.S. Jaycees, 468 U.S. 609, 618 (1984), the LLC lacks standing to raise it.




9
   When determining whether a constitutional provision is applicable to a LLC, courts have treated LLCs like
corporations. See, e.g., Aqua Harvesters, Inc. v. New York State Dep’t of Envtl. Conservation, 399 F. Supp. 3d 15,
79 n.59 (E.D.N.Y. 2019); Swedenburg v. Kelly, 2000 WL 1264285, at *11 n.30 (S.D.N.Y. Sept. 5, 2000).
10
   Merco Properties also indicates that corporations cannot be deprived of freedom of speech. “The Supreme Court
has lately taken a more expansive view of the rights of artificial persons.” Centro de la Comunidad Hispana de
Locust Valley v. Town of Oyster Bay, 868 F.3d 104, 123 (2d Cir. 2017) (citing cases). However, those cases concern
corporate speech, not the right of assembly.
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        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 12 of 42



         The LLC likewise does not have standing to raise a challenge under the Fourteenth

Amendment Privileges or Immunities Clause, which is asserted in Count Ten. 2dAC, ¶ 75. The

Supreme Court has long held that “[a] corporation . . . is not a ‘citizen’ within the meaning of the

[Fourteenth Amendment] privileges and immunities clause.” Grosjean v. Am. Press Co., 297

U.S. 233, 244 (1936). Lastly, the LLC cannot bring the substantive due process claims

referenced in Counts Ten and Twelve. “The liberty referred to in th[e] Fourteenth Amendment is

the liberty of natural, not artificial, persons.” Nw. Nat. Life Ins. Co. v. Riggs, 203 U.S. 243, 255

(1906); see also Nat’l Paint & Coatings Ass’n v. City of Chicago, 45 F.3d 1124, 1129–30 (7th

Cir. 1995) (holding that corporations could not bring substantive due process claims). 11 The

LLC’s lack of standing precludes any comparable claims by the individual Plaintiffs to the extent

their claims are business-related. See Orion Wine Imports, LLC v. Applesmith, 412 F. Supp. 3d

1174, 1186 (E.D. Cal. 2019) (plaintiff members of a LLC lacked standing under the Art. IV, § 2

Privileges and Immunities Clause to assert claims derivative of the LLC). 12

         The individual Plaintiffs have also failed to establish standing for their claims to the

extent, if any, their First Amendment claims may be considered independent of the LLC. See

Amato, 2020 WL 2542788, at *7 (drawing a distinction for standing purposes between Plaintiffs’

First Amendment claims and other claims). This Court found that Plaintiffs’ Original Complaint,

“by itself, d[id] not allege adequate facts to support standing to pursue the[ir] First Amendment

11
   The Governor acknowledges that the Supreme Court has ruled in favor of corporations on substantive due process
grounds without expressly addressing whether those corporations had standing to bring substantive due process
claims. See, e.g., BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 562–63 (1996). To the extent Plaintiffs’ claims in this
case can be understood, and in light of the Court’s guidance in Bellotti, Plaintiffs’ claims appear to be more
analogous to the type of claims at issue in Riggs than those at issue in Gore and similar cases.
12
   The Seventh Circuit has surmised that associational standing principles may warrant a different result. See
W.C.M. Window Co. v. Bernardi, 730 F.2d 486, 493 (7th Cir. 1984). That analysis is arguably dictum and—perhaps
as a result—incorrectly conflates principles of business law with general principles of associational standing. In any
event, the associational standing avenue would be unavailable to individual Plaintiffs in this case because inter alia
one of the requirements of associational standing is that the individual plaintiffs “would otherwise have standing to
sue in their own right.” Hunt v. Washington State Apple Advert. Comm'n, 432 U.S. 333, 343 (1977). As was
explained, individual Plaintiffs do not.
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        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 13 of 42



claims.” Amato, 2020 WL 2542788, at *7. Even with the benefit of that guidance from the Court

and opportunities to amend, the counseled Plaintiffs have pled no new facts that would support

standing for their First Amendment claims. 13 That requires dismissal. See id.

V.       Even if this Court Concludes it has Jurisdiction Over Plaintiffs’ Claims,
         their Claims Lack Merit and this Court Should Dismiss Them

         Plaintiffs acknowledge that a “Coronavirus crisis . . . began to take hold in Connecticut”

in March 2020. 2dAC, ¶ 13. On March 20, 2020, 14 days before Plaintiffs filed this action, the

Second Circuit issued a unanimous opinion in which the Court bleakly noted that “[a]s we write

this opinion, a . . . dramatic challenge is presented by COVID-19, a novel and easily transmitted

viral disease [resulting from exposure to coronavirus] that has prompted a rapid reorientation of

workplace practices and social life in support of public health.” Fed. Defs., 954 F.3d at 135. The

court noted that “the impact of this recent emergency” was “just beginning to be felt” and that

“[i]ts likely course we cannot foresee.” Id. However, the court observed that “[p]resent

information strongly suggests . . . that it may be grave and enduring.” Id.

         That has unfortunately proven to be true. As a result of COVID-19, the Governor—like

every other Governor in the United States (and leaders world-wide)—has been forced to make

extraordinarily difficult decisions based on constantly evolving information. As the Governor

argued and this Court recognized earlier in this case, the United States Constitution makes clear

that those decisions are primarily the Governor’s to make and the Supreme Court has “mandated

judicial deference in such situations.” Amato, 2020 WL 2542788, at *9 (referencing Jacobson).

         Plaintiffs’ counsel has indicated in press statements related to this case that he believes

Jacobson is outdated. See News Articles (A-46). But this Court has already found “that the


13
  Plaintiffs added paragraphs 23 to 28 in an apparent effort to correct their failure to plead facts indicating that they
would have reopened in April but for the Orders. Those facts do nothing to correct the standing defects this Court
identified as to Plaintiffs’ First Amendment claims.
                                                          13
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 14 of 42



standard articulated in Jacobson applies here; [t]he decision has never been overturned, and the

Second Circuit relied on the Jacobson standard in 2015 in Phillips.” Amato, 2020 WL 2542788,

at *10 (citing Phillips v. City of New York, 775 F.3d 538, 542 (2d Cir. 2015)). This Court’s

finding was consistent with the “chorus of other federal courts” that have “point[ed] to Jacobson

and reject[ed] similar constitutional claims brought by Plaintiffs challenging similar COVID-19

restrictions in other states.” Open Our Oregon v. Brown, 2020 WL 2542861, at *2 (D. Or. May

19, 2020) (citing eleven cases from other Circuit and district courts, including Geller v. De

Blasio, 2020 WL 2520711 (S.D.N.Y. May 18, 2020)). Indeed, multiple Circuit courts have

issued extraordinary writs of mandamus because district courts failed to properly apply

Jacobson’s deferential standard to state health orders issued in response to COVID-19. See In re

Rutledge, 956 F.3d 1018, 1032 (8th Cir. 2020) (granting a writ of mandamus, and noting that

“[o]ur conclusion is supported by our concern that the district court committed a serious error in

failing to meaningfully apply the Jacobson framework, which resulted in a clear abuse of

discretion”); In re Abbott, 954 F.3d 772, 795 (5th Cir. 2020) (similar).

       Perhaps most fundamentally, the Supreme Court recently validated this Court’s finding

that Jacobson controls. In S. Bay, the Supreme Court denied an application for injunctive relief

directed at a Governor’s COVID-19 Orders. S. Bay, 140 S. Ct. at 1613. In his concurrence, Chief

Justice Roberts expressly relied on Jacobson and its holding that “[o]ur Constitution principally

entrusts ‘[t]he safety and the health of the people’ to the politically accountable officials of the

States ‘to guard and protect.’” Id. (Roberts, C.J., concurring in denial of application for

injunctive relief) (quoting Jacobson, 197 U.S. at 38). No Justice expressed any doubt that

Jacobson remains good law; even the dissenting Justices agreed that “[t]he State . . . has




                                                14
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 15 of 42



substantial room to draw lines, especially in an emergency.” Id. at 1615 (Kavanaugh, J., joined

by Thomas, J., and Gorsuch, J., dissenting from denial of application for injunctive relief).

       This Court has already correctly found that Plaintiffs’ First Amendment association and

assembly claims would fail even under traditional First Amendment analysis. Amato, 2020 WL

2542788, at *11-13. Even with the benefit of that guidance, Plaintiffs’ Second Amended

Complaint does nothing to cure the defects this Court identified. See id. That should warrant

dismissal of Plaintiffs’ claims in Counts Eight and Nine, even without reliance on Jacobson.

       In any event, Jacobson removes any doubt that this Court should dismiss all of Plaintiffs’

claims against the Governor in their entirety. “Jacobson requires that courts refrain from second-

guessing state governments’ responses [to COVID-19] unless there is ‘no real or substantial

relation’ between the actions and the public health and safety or the action is ‘beyond all

question, a plain, palpable invasion of rights.’” Amato, 2020 WL 2542788, at *10 (quoting

Jacobson, 197 U.S. at 31). As Chief Justice Roberts recently put it, when state “officials

‘undertake[ ] to act in areas fraught with medical and scientific uncertainties,’ their latitude ‘must

be especially broad.’” S. Bay, 140 S. Ct. at 1613 (Roberts, C.J., concurring in denial of

application for injunctive relief) (quoting Marshall v. United States, 414 U.S. 417, 427 (1974)).

“Where those broad limits are not exceeded, they should not be subject to second-guessing by an

‘unelected federal judiciary,’ which lacks the background, competence, and expertise to assess

public health and is not accountable to the people.” Id. at 1613-14 (quoting Garcia v. San

Antonio Metropolitan Transit Authority, 469 U.S. 528, 545 (1985)).

       The Governor’s actions were well within the especially broad latitude the United States

Constitution granted him to take action “to limit the spread of COVID–19, a novel severe acute

respiratory illness that has killed thousands of people in [Connecticut] and more than 100,000

                                                 15
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 16 of 42



nationwide” and for which “[a]t this time, there is no known cure, no effective treatment, and no

vaccine.” Id. at 1613. Plaintiffs’ claims lack any merit and this Court should dismiss them.

        A. Plaintiffs’ Right of Assembly Claims in Count Eight Lack Merit

        Count Eight alleges violations of the right of assembly under the First Amendment.

2dAC, at ¶¶ 64-66. In examining these claims in the context of Plaintiffs’ Original Complaint,

this Court found that they were not likely to succeed both because “Jacobson establishes that

states may institute extraordinary measures to protect public health” and because, “even if

Jacobson did not apply, the Plaintiffs’ arguments are unlikely to succeed under traditional First

Amendment analysis.” Amato, 2020 WL 2542788, at *9 (quotation marks omitted).

        Plaintiffs’ Second Amended Complaint makes no changes that would even arguably

remedy those defects in Plaintiffs’ claims. Specifically, Plaintiffs still do not make any non-

conclusory factual allegations in support of their assembly claims, and that warrants dismissal.

To survive a motion to dismiss, a Complaint must contain “more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (quotation marks omitted).

“A pleading that offers labels and conclusions or a formulaic recitation of the elements of a cause

of action will not do.” Id. (quotation marks omitted). “Nor does a complaint suffice if it tenders

naked assertion[s] devoid of further factual enhancement.” Id. (quotation marks omitted).

        Naked assertions are still all Plaintiffs offer here; they allege only that the Governor

issued an Order “banning all gatherings of people that exceeded five 14 in number, except for

religious and social gatherings,” 2dAC, ¶ 22, and that it was an “unconstitutional restriction[ ] on


14
   Of course, Plaintiffs’ assembly claims are even weaker to the extent Plaintiffs seek prospective declaratory or
injunctive relief. The five person limit Plaintiffs reference in their Second Amended Complaint is no longer
operative, and has been replaced with a 25 person indoor limit and a 100 person outdoor limit. (A-28). Plaintiffs
have asserted no facts to indicate that those limits would in any way impair their right to assemble. See, e.g., Am.
Steel Foundries v. Tri-City Cent. Trades Council, 257 U.S. 184, 201 (1921) (“[B]ecause relief by injunction operates
in futuro . . . the right to it must be determined as of the time of the hearing.”).
                                                        16
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 17 of 42



the Plaintiffs’ liberty and right to assemble under the First Amendment . . . because it is neither

necessary nor carefully tailored to address the purported public health need.” Id. at ¶ 65. Those

allegations are insufficient to survive this Motion to Dismiss.

       Given the paucity of factual allegations, it is difficult for the Governor to ascertain what

Plaintiffs intend their assembly claim to be. No matter how it is construed, there is no evident

reason to believe it can survive this Motion to Dismiss.

       Jacobson indicated inter alia that to avoid the spread of disease apparently healthy

individuals could be held “held in quarantine against [their] will on board” a ship with “cases of”

a disease “until it be ascertained by inspection, conducted with due diligence, that the danger of

the spread of the disease among the community at large has disappeared.” Jacobson, 197 U.S. at

29. That is surely more of an infringement on the right to assemble than anything that is either

alleged in Plaintiffs’ Complaint, or could somehow be divined from it. And even after this Court

has given Plaintiffs opportunities to amend Plaintiffs do not even allege that the Governor’s

Order is unconstitutional under the Jacobson standard. Id. at 28, 31.

       Instead, Plaintiffs disregard the existence of the pandemic and allege that the Order is

unconstitutional “because it is neither necessary nor carefully tailored to address the purported

public health need.” 2dAC, ¶ 65. That is the incorrect standard and this Court should dismiss

Plaintiffs’ claims on that basis alone. Cf. In re Abbott, 954 F.3d at 783 (granting a writ of

mandamus where the district court failed to apply (or even acknowledge) Jacobson). This Court

correctly recognized that the Supreme Court has made clear that Jacobson applies in the First

Amendment context. Amato, 2020 WL 2542788, at *10. Plaintiffs do not even allege that the

Order is unconstitutional under the applicable Jacobson standard, let alone facts that would

support such a conclusion. See id. at *9-11 (analyzing Plaintiffs’ functionally identical assembly

                                                17
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 18 of 42



claims in their Original Complaint under the Jacobson standard and holding that they did not

have a likelihood of success on the merits).

       But Plaintiffs’ assembly claims would be subject to dismissal even under Plaintiffs’ own

inapplicable standard from traditional First Amendment analysis. See id. at *11-12. The

challenged “restrictions are content neutral,” and their “application to all social and recreational

gatherings makes clear that the limitation has nothing to do with the expressive content of any

such gatherings.” Id. at *11 (emphasis in Amato). The restrictions are also “‘narrowly tailored to

serve a significant governmental interest, and [they] leave[ ] open ample alternative channels for

communication.’” Id. (quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)). The

Supreme Court has made clear that the state has a significant interest in limiting the spread of

disease, the challenged restrictions are narrowly tailored to further that interest, and they “leave[

] open alternative channels of expression.” Id. That would be fatal to Plaintiffs’ claims, even

under the “stricter First Amendment analysis” that would apply if Connecticut were not in the

midst of a deadly pandemic. Id. at *12; see also McCarthy v. Cuomo, 2020 WL 3286530, at *4

(E.D.N.Y. June 18, 2020) (reaching a similar conclusion in challenge to a COVID-19 Order).

       Those defects—which Plaintiffs were unwilling or unable to correct—should be more

than enough to warrant dismissal, but Plaintiffs’ assembly claims are defective in other ways. To

allege an assembly claim that could even theoretically survive this Motion to Dismiss, Plaintiffs

needed to provide sufficient plausible factual assertions as to when and where they wanted to

assemble, with whom, and for what purpose. See, e.g., Cox v. State of La., 379 U.S. 536, 554

(1965) (“The rights of free speech and assembly, while fundamental in our democratic society,

still do not mean that everyone with opinions or beliefs to express may address a group at any

public place and at any time.”); Johnson v. Perry, 859 F.3d 156, 171–72 (2d Cir. 2017) (noting

                                                 18
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 19 of 42



that the analysis of assembly claims depends in part on the location of the assembly); A.B.C.

Home Furnishings, Inc. v. Town of E. Hampton, 947 F. Supp. 635, 643 (E.D.N.Y. 1996)

(dismissing an assembly claim where it was based on a government’s “efforts to control the

plaintiff's commercial enterprise”). “[T]he First Amendment protects conduct only if it has an

expressive purpose,” and this Court should independently dismiss Plaintiffs’ assembly claims

because Plaintiffs “do[ ] not allege” that they were “engaged in any expressive conduct”

impacted by the Orders. Salmon v. Blesser, 802 F.3d 249, 256 (2d Cir. 2015) (affirming

dismissal of assembly claims for failure to state a claim); see also Best Supplement Guide, LLC

v. Newsom, 2020 WL 2615022, at *4 (E.D. Cal. May 22, 2020) (holding that an assembly

challenge to a Governor’s COVID-19 order was not likely to succeed where the plaintiffs’ claims

were based on “non-expressive, commercial interaction”).

          B. Plaintiffs’ Right of Freedom of Association Claims in Count Nine Lack
             Merit

          Count Nine alleges violations of the right of freedom of association under the First,

Ninth 15, and Fourteenth Amendments. 2dAC, at ¶¶ 67-73. This Court should dismiss Plaintiffs’

association claims for reasons similar to the reasons it should dismiss Plaintiffs’ assembly

claims.

          Again, Plaintiffs apply the incorrect standard, this time alleging that the Order is

unconstitutional because it “poses a substantial and undue burden on the Plaintiffs’ liberty and

right to freely associate with their customers and their friends.” Id. at ¶ 68. Jacobson provides the

correct standard, and indicated that restrictions on associational rights far more substantial than

anything Plaintiffs allege would be constitutionally permissible in emergency circumstances such


15
   Plaintiffs’ reliance on the Ninth Amendment adds nothing to their claims; “‘[t]he Ninth Amendment is not an
independent source of individual rights.’” Phillips, 775 F.3d at 544 (quoting Jenkins v. C.I.R., 483 F.3d 90, 92 (2d
Cir. 2007)).
                                                        19
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 20 of 42



as these. Jacobson, 197 U.S. at 29 (indicating that apparently healthy individuals could be

quarantined on a ship with others with a disease against their will); see also Amato, 2020 WL

2542788, at *10 (applying Jacobson to a First Amendment claim). Indeed, since Jacobson, the

Supreme Court has indicated that associational rights are “among the rights least compatible”

with a state’s sometimes legitimate needs to limit otherwise permissible conduct and that a

state’s curtailment of associational rights is given deferential review, even outside the emergency

context. Overton v. Bazzetta, 539 U.S. 126, 131–32 (2003); see also Muhammad v. Annucci,

2020 WL 264104, at *4 (S.D.N.Y. Jan. 17, 2020), report and recommendation adopted, 2020

WL 1303571 (S.D.N.Y. Mar. 19, 2020) (reading Overton as “questioning whether the First

Amendment right to association extends even to familial visits to inmates”). Plaintiffs do not

even allege that the Orders are unconstitutional under the applicable standard (let alone facts to

support that assertion) and that alone would be sufficient grounds for dismissal. This Court said

it “would find that Executive Order 7N was a reasonable state action under Jacobson,” based on

Plaintiffs’ Original Complaint. Amato, 2020 WL 2542788, at *13. Plaintiffs’ Second Amended

Complaint does nothing to change that result. This Court can dismiss Plaintiffs’ association

claims without any further analysis.

       That said, Plaintiffs’ association claims would be subject to dismissal even under

Plaintiffs’ own inapplicable standard. See id. at *12-13 (analyzing Plaintiffs’ claims in their

Original Complaint under both Jacobson analysis and “traditional First Amendment analysis”).

“The right to associate freely is not mentioned in the text of the First Amendment, but has been

derived over time as implicit in and supportive of the rights identified in that amendment.”

Jacoby & Meyers, LLP v. Presiding Justices, 852 F.3d 178, 185 (2d Cir. 2017). The First

Amendment freedom of association “has been generally understood to encompass two quite

                                                20
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 21 of 42



different types of associational activity: ‘choices to enter into and maintain certain intimate

human relationships,’ and ‘associat[ion] for the purpose of engaging in those activities protected

by the First Amendment—speech, assembly, petition for the redress of grievances, and the

exercise of religion.’” Id. (quoting Roberts, 468 U.S. at 617).

       Plaintiffs do not allege facts that would plausibly assert a claim under either category.

Plaintiffs do not allege any fact that would indicate the Orders prevented them from associating

with anyone for purposes of protected activity. See id.; see also Amato, 2020 WL 2542788, at

*13 (noting that Plaintiffs’ association claims in their functionally identical Original Complaint

were not likely to succeed on their merits because Plaintiffs “have not alleged” any facts

“regarding the purpose of their association”). “It is Plaintiffs’ burden to show that gathering with

th[eir customers and friends] is constitutionally protected, and they have failed to do so” even

after this Court has given them multiple opportunities. Amato, 2020 WL 2542788, at *12.

       The closest Plaintiffs come to the “intimate human relationships” category is their

assertions that the Orders “pose[ ] a substantial and undue burden on the Plaintiffs’ liberty and

right to freely associate with their customers and her friends.” Id. at ¶ 68. It appears from the

allegations that the individual Plaintiffs consider their customers their friends, but Plaintiffs’

claims would fail even if customers and friends are two separate categories of people.

       Either way, “non-familial relationships generally do not receive First Amendment

protection.” Maselli v. Tuckahoe Union Free Sch. Dist., 2019 WL 3456581, at *4 (S.D.N.Y. July

31, 2019) (citing cases). “‘The right generally will not apply, for example, to business

relationships.’” Id. (quoting Sanitation & Recycling Indus., Inc. v. City of New York, 107 F.3d

985, 996 (2d Cir. 1997)). Indeed, “the Second Circuit has specifically held that the relationships

between a restaurant owner and her customers or employees are not protected by the First

                                                 21
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 22 of 42



Amendment.” Amato, 2020 WL 2542788, at *12 (citing Michaelidis v. Berry, 502 F. App’x 94,

96–97 (2d Cir. 2012) (Summary Order)). Even after this Court made clear that Plaintiffs needed

to allege facts to support their association claims and gave counseled Plaintiffs opportunities to

do so, Plaintiffs still “fail to allege or aver any facts suggesting that their relationships with

‘friends’ . . . are sufficiently intimate to implicate the First Amendment.” Id. (citing cases,

including Gross v. City of Albany, 2015 WL 5708445, at *10 (N.D.N.Y. Sept. 29, 2015), which

held that “friendships, however close, are insufficient to state a claim under the First

Amendment” (quotation marks omitted)).

       “At the motion to dismiss stage,” the “assessment” of whether a given relationship is

constitutionally protected “is necessarily premised upon the description of the relationship in the

operative pleadings.” Id. (quotation marks omitted). Plaintiffs fall far short of making the

necessary allegations to support an association claim sufficient to withstand this Motion to

Dismiss. See id. (citing Maselli, which “collect[ed] Second Circuit cases on the freedom of

association and “declin[ed] to hold, on the non-specific facts alleged in the [complaint], that

Plaintiff’s relationship with [her brother-in-law] is entitled to First Amendment protection”

despite far more detailed factual allegations than Plaintiffs offer here (quotation marks omitted)).

       The Court’s analysis need proceed no further, but Plaintiffs’ association claims should

also fail for the independent reason that—even if we were not in an emergency situation—the

Orders, at most, limit Plaintiffs on the margins. “Though such inhibiting conduct might make it

more difficult for individuals to exercise their freedom of association, this consequence does not,

without more, result in a violation of the First Amendment.” Fighting Finest, Inc. v. Bratton, 95

F.3d 224, 228 (2d Cir. 1996). Rather, “[t]o be cognizable, the interference with associational




                                                22
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 23 of 42



rights must be ‘direct and substantial’ or ‘significant.’” Id. (quoting Lyng v. UAW, 485 U.S. 360,

367 & n.5 (1988)).

       Plaintiffs’ allegations do not approach that showing. Plaintiffs acknowledge—as they

must—that the challenged Orders applied only to “gatherings of people that exceed[ ] five in

number” and had exceptions “for religious and social gatherings.” 2dAC, ¶ 22. Plaintiffs fail to

allege that the challenged Orders “otherwise prohibit alternative means of communication or

virtual gathering.” Friends of Danny DeVito v. Wolf, 227 A.3d 872, 902–03 (Pa.), petition for

cert. filed, No. 19-1265 (2020) (upholding Executive Order issued in response to this pandemic

against association challenge); see also Six v. Newsom, 2020 WL 2896543, at *7 (C.D. Cal. May

22, 2020) (finding that an association challenge to a Governor’s COVID-19 Order was not likely

to succeed where the plaintiffs could still associate through other means, including “virtual

platforms” and that a plaintiffs’ professed desire to perform in front of crowds did not fall “under

the right to intimate association”). Plaintiffs fail to state an association claim on which relief may

be granted and this Court should dismiss Count Nine.

       C. Plaintiffs’ Honest Living Claims in Count Ten Lack Merit

       Count Ten alleges violations of Plaintiffs’ purported constitutional rights to pursue an

honest living under the Fourteenth Amendment to the United States Constitution’s Privileges or

Immunities and Due Process Clauses. 2dAC, at ¶¶ 74-77. As Plaintiffs’ counsel has recognized

elsewhere (A-52), Supreme Court precedent has precluded the Privileges or Immunities portion

of Plaintiffs’ claims for well over a century, even outside the context of a pandemic. See The

Slaughter–House Cases, 83 U.S. 36 (1872); see also McDonald v. City of Chicago, Ill., 561 U.S.

742, 758 (2010) (“declin[ing] to disturb the Slaughter–House holding”).




                                                 23
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 24 of 42



        As the Fourth Circuit pointed out in rejecting a claim similar to Plaintiffs’ as “foreclosed”

by Supreme Court precedent, in The Slaughter-House Cases the Supreme Court “confined the

reach of” the Fourteenth Amendment’s Privileges or Immunities Clause “to a set of national

rights that does not include the right to pursue a particular occupation.” Colon Health Centers of

Am., LLC v. Hazel, 733 F.3d 535, 548 (4th Cir. 2013). The Fourth Circuit found that it “lack[ed]

the authority to disturb” the Supreme Court’s decision. Id. at 548-49. “This is especially the case

where recognition of an unenumerated substantive right would open the door to a host of

textually dubious challenges to state economic regulation of every sort.” Id. at 549.

        The substantive due process 16 aspect of Plaintiffs’ honest living claims likewise should

not survive dismissal. 2dAC, at ¶ 76. As a threshold matter, Plaintiffs’ substantive due process

claims in this Count or elsewhere in their Complaint necessarily fail to the extent they are based

on conduct that forms the basis for alleged violations of other more specific constitutional

provisions. See, e.g., Velez v. Levy, 401 F.3d 75, 94 (2d Cir. 2005). Plaintiffs’ substantive due

process claims would also fail in insolation. “‘The first step in substantive due process analysis is

to identify the constitutional right at stake,’ then the court must ‘consider whether the state action

. . . was arbitrary in the constitutional sense and therefore violative of substantive due process.’”

Nicholson v. Hannah, 2020 WL 3086022, at *4 (D. Conn. June 10, 2020) (Meyer, J.) (quoting

Lowrance v. Achtyl, 20 F.3d 529, 537 (2d Cir. 1994)).

        Plaintiffs’ claims fail at both steps. As to the first step, Plaintiffs claim a violation of their

“right to pursue an honest living.” 2dAC, at ¶ 76. No such federal constitutional right exists. See

Richardson v. Clackamas Cty., 2014 WL 1653064, at *2 (D. Or. Apr. 24, 2014) (finding that the

rights protected by the Constitution “do not include . . . the right to an honest living”). That alone
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  Although the counseled Plaintiffs’ Second Amended Complaint does not specify whether their due process claims
are substantive or procedural, the language used indicates that Plaintiffs’ claims are substantive and Plaintiffs’
Second Amended Complaint alleges no facts that give even a theoretical basis for a procedural due process claim.
                                                       24
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 25 of 42



warrants dismissal of Plaintiffs’ claim at the first step of the substantive due process analysis.

See, e.g., Washington v. Sessions, 2018 WL 1114758, at *9 (S.D.N.Y. Feb. 26, 2018), appeal

held in abeyance sub nom. Washington v. Barr, 925 F.3d 109 (2d Cir. 2019) (dismissing a

substantive due process claim without further analysis where the claimed right did not exist).

        Even if Plaintiffs had plead a recognized right, their substantive due process claims

would be subject to dismissal at the second step of the analysis because Plaintiffs have not

pled—and could not credibly plead—facts to support a conclusion that the Governor’s actions

were “‘arbitrary in the constitutional sense and therefore violative of substantive due process.’”

Nicholson, 2020 WL 3086022, at *4 (quoting Lowrance, 20 F.3d at 537). “Rules of due process

are not . . . subject to mechanical application in unfamiliar territory.” Cty. of Sacramento v.

Lewis, 523 U.S. 833, 850 (1998). Official conduct “that shocks in one environment may not be

so patently egregious in another, and our concern with preserving the constitutional proportions

of substantive due process demands an exact analysis of circumstances before any abuse of

power is condemned as conscience shocking.” Id. In performing that analysis, “only the most

egregious official conduct can be said to be arbitrary in the constitutional sense.” Id. at 846.

“[L]iability for negligently inflicted harm is categorically beneath the threshold of constitutional

due process.” Id. at 849. “It is, on the contrary, behavior at the other end of the culpability

spectrum that would most probably support a substantive due process claim; conduct intended to

injure in some way unjustifiable by any government interest is the sort of official action most

likely to rise to the conscience-shocking level.” Id.

        This Court has found, and Plaintiffs have rightly acknowledged 17, that “governments

certainly have a significant interest in protecting public health and in limiting the spread of

17
  See, e.g., MIS TRO/PI Motion, p. 16 (ECF No. 11-1) (acknowledging that “there is an undeniable public interest
in combatting and containing coronavirus”).
                                                       25
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 26 of 42



disease.” Amato, 2020 WL 2542788, at *11. Plaintiffs allege no facts indicating that the Orders

were “intended to injure” or that they were “unjustifiable by” the state’s interest in limiting the

spread of COVID-19. Lewis, 523 U.S. at 849. To the contrary, Plaintiffs explicitly acknowledge

that closing their business was “the best course of action for their business, their employees, and

the community they served” in mid-March, 2dAC, at ¶ 13, “to help flatten the curve of the

coronavirus outbreak despite the fact that, at that time, gatherings of fifty people were still

allowed” under the Orders. Id. at ¶ 14. Thus, Plaintiffs admit that business closures can be—and

once were—justified in furtherance of the state’s admitted interest in preventing the spread of

COVID-19; the only issue is when and how those closures should be lifted.

       Plaintiffs plead no facts that would remotely support a claim that the Governor’s actions

in connection with modifying his Orders in response to changes in the pandemic were so

unjustified as to become constitutionally arbitrary. “The precise question of when restrictions on

particular social activities should be lifted during the pandemic is a dynamic and fact-intensive

matter subject to reasonable disagreement.” S. Bay, 140 S. Ct. at 1613 (Roberts, C.J., concurring

in denial of application for injunctive relief). As the primary protector of people in Connecticut

from COVID-19, the Governor was compelled “‘to act in areas fraught with medical and

scientific uncertainties,’” and the Constitution granted—and grants—him “‘especially broad’”

latitude to act without the “second-guessing” by the courts that would follow from substantive

due process liability. Id. (quoting Marshall, 414 U.S. 417, 427).

       The Second Circuit has made clear that Plaintiffs’ concession of a legitimate government

interest and Plaintiffs’ failure to allege any facts supporting a finding of bad faith should be fatal

to Plaintiffs’ substantive due process claims. See, e.g., Lombardi v. Whitman, 485 F.3d 73, 82–83

(2d Cir. 2007). In Whitman, the Court rejected substantive due process claims brought by

                                                 26
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 27 of 42



plaintiffs who “performed search, rescue and clean-up work at the World Trade Center site . . . in

the aftermath of the September 2001 terrorist attacks” and who alleged that “federal officials,

issued reassuring—and knowingly false—announcements about the air quality in lower

Manhattan,” which led the plaintiffs “to work at the site without needed respiratory protection”

and resulted in harm to their health. Id. at 74. In so holding, the Court reasoned that “the

complaint’s allegations d[id] not shock the conscience even if the defendants acted with

deliberate indifference: when agency officials decide how to reconcile competing governmental

obligations in the face of disaster, only an intent to cause harm arbitrarily can shock the

conscience in a way that justifies constitutional liability.” Id. at 74-75.

        The Second Circuit’s logic in Whitman applies with even greater force here. In contrast to

Plaintiffs in this case, the plaintiffs in Whitman had an undisputed substantive due process right

to bodily integrity that the defendants’ alleged conduct implicated. Id. at 79. Even so, the Second

Circuit held that the defendants’ allegedly knowingly false statements did not shock the

conscience for substantive due process purposes. That was because “[t]he conscience recognizes

the dilemma of conflicting obligations. In the apparent absence of harmless options at the time

decisions must be made, an attempt to choose the least of evils is not itself shocking.” Id. at 82.

        The Whitman defendants had to balance the plaintiffs’ safety against the “essential

government function in the wake of disaster . . . to put the affected community on a normal

footing, i.e., to avoid panic, keep order, restore services, repair infrastructure, and preserve the

economy.” Id. at 83. Under those circumstances, “the allocation of risk may be a burden on the

conscience of the one who must make such decisions, but does not shock the contemporary

conscience” for substantive due process purposes. Id. at 85.

        The same is true here. “[I]n the § 1983 context, courts should operate from a

                                                  27
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 28 of 42



‘presumption that the administration of government programs is based on a rational

decisionmaking process that takes account of competing social, political, and economic forces.’”

Id. at 84 (quoting Collins v. City of Harker Heights, 503 U.S. 115, 128 (1992)). The Governor

was faced with a “dramatic challenge” that is “presented by COVID-19, a novel and easily

transmitted viral disease that has prompted a rapid reorientation of workplace practices and

social life in support of public health.” Fed. Defs., 954 F.3d at 126. Under such circumstances,

“substantive due process liability should not be allowed to inhibit or control policy decisions of

government agencies, even if some decisions could be made to seem gravely erroneous in

retrospect.” Whitman, 485 F.3d at 84.

       To be clear, Plaintiffs do not—and could not credibly—allege facts that would support a

conclusion that the Governor’s decisions were either gravely erroneous or constitutionally

arbitrary. Rather, Plaintiffs admit that Connecticut faced a “crisis” and that closing their business

was an appropriate response to that crisis. 2dAC, at ¶¶ 13-14. Plaintiffs nonetheless want this

Court to “second-guess[ ]” the Governor’s response to “COVID–19, a novel severe acute

respiratory illness,” with which people “may unwittingly infect others,” and for which “there is

no known cure, no effective treatment, and no vaccine.” S. Bay, 140 S. Ct. at 1613 (Roberts, C.J.,

concurring in denial of application for injunctive relief). Substantive due process is not a proper

constitutional vehicle for such second-guessing and this Court should dismiss Plaintiffs’ claims.

       D. Plaintiffs’ Fifth Amendment Taking Claims in Count Eleven Lack Merit

       The Fifth Amendment is the only federal constitutional provision Plaintiffs reference as a

basis for their taking claims in Count Eleven. 2dAC, ¶¶ 78-80. Supreme Court precedent

forecloses Count Eleven as pleaded. Well over a century ago, the Court found that “[t]here is no

specific prohibition in the federal constitution which acts upon the states in regard to their taking

                                                 28
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 29 of 42



private property for any but a public use.” Fallbrook Irr. Dist. v. Bradley, 164 U.S. 112, 158

(1896). Importantly for present purposes, the Court held that “[t]he fifth amendment, which

provides, among other things, that . . . property shall not be taken for public use without just

compensation, applies only to the federal government, as has many times been decided.” Id. That

remains the law as to the Fifth Amendment. 18

        When a pro se plaintiff relies on the Fifth Amendment as the basis for a takings claim

against state officials, courts sometimes construe the plaintiff’s “reliance on the Fifth

Amendment . . . as an invocation of the Fourteenth Amendment, because the latter applies to due

process violations or takings by state rather than federal actors and [the p]laintiffs have not

alleged any wrongdoing by federal actors.” Sibiski v. Cuomo, 2010 WL 3984706, at *8

(E.D.N.Y. Sept. 15, 2010) (quotation marks omitted). Here, however, Plaintiffs are counseled,

and Count Twelve asserts a separate Fourteenth Amendment due process claim using identical

operative language to Plaintiffs’ Fifth Amendment taking claim in Count Eleven. Compare

2dAC, ¶ 79 (the operative paragraph for Plaintiffs’ Fifth Amendment taking claim), with id. at ¶

82 (the operative paragraph for Plaintiffs’ due process claim in Count Twelve). Therefore, this

Court should dismiss Plaintiffs’ Fifth Amendment taking claim. See Bradley, 164 U.S. at 158.

        E. Plaintiffs’ Due Process Claims in Count Twelve Lack Merit

        Count Twelve alleges that the Governor’s actions deprived “Plaintiffs of their property

without due process of law,” 2dAC, ¶ 83, because the Governor’s Orders regulate “the use of

private property to such a degree that it effectively deprives the Plaintiffs of any economically

18
   The Supreme Court has never overruled this aspect of Bradley. The Court has used language since Bradley that—
on its face—could be read as indicating that the Fifth Amendment “applies to the States as well as the Federal
Government.” Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Planning Agency, 535 U.S. 302, 306 n.1 (2002)
(“Tahoe-Sierra”) (citing Chicago, B. & Q.R. Co. v. Chicago, 166 U.S. 226, 239, 241 (1897) and Webb’s Fabulous
Pharmacies, Inc. v. Beckwith, 449 U.S. 155, 160 (1980)). However, the cases on which the Tahoe-Sierra Court
relied make clear that the Court was indicating—consistent with Bradley—that the just compensation requirement
“applies against the States through the Fourteenth Amendment.” Beckwith, 449 U.S. at 160.
                                                      29
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 30 of 42



viable use of their property to the point where it deprives them of the value of their property.” Id.

at ¶ 82. Count Twelve uses identical operative language to Plaintiffs’ taking claim in Count

Eleven. Therefore, it appears that Plaintiffs intend Count Twelve to plead a regulatory taking

claim under “[t]he Takings Clause of the Fifth Amendment 19” as “[t]he clause applies to the

states through the Fourteenth Amendment.” Elmsford Apartment Associates, LLC v. Cuomo,

2020 WL 3498456, at *7 (S.D.N.Y. June 29, 2020) (“Elmsford”). 20

        The “first step” in any due process claim—including one based on an alleged regulatory

taking—is to “ask whether the claimant has a cognizable property interest that has been

jeopardized by governmental action.” Ganci v. New York City Transit Auth., 420 F. Supp. 2d

190, 196 (S.D.N.Y.), aff’d, 163 F. App’x 7 (2d Cir. 2005). If not, the claimant has “failed to state

a claim for which relief can be granted.” Id. at 203.

        Plaintiffs fail to define their claimed property interest with any specificity. To the extent

the Governor can surmise Plaintiffs’ claimed interest, it appears to be an interest in “the activities

of business.” 2dAC, ¶ 82. That is not a protected interest for due process purposes; the Supreme

Court has held that although a business’ assets are property, “business in the sense of the activity

of doing business, or the activity of making a profit is not property in the ordinary sense.” Coll.

Sav. Bank v. Florida Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 675 (1999)

(emphasis in Coll. Sav. Bank). Therefore, Plaintiffs have not met their burden to identify a right

protected by due process and this Court can—and should—dismiss Plaintiffs’ claims on that

19
   To the extent Count Twelve could be construed as asserting any other type of substantive due process claim, any
such claim should fail for the same reasons Plaintiffs’ substantive due process claims in Count Ten should fail.
20
   To be clear, this Court need not—and should not—reach the merits of Plaintiffs’ taking claims, whether they are
under the Fifth Amendment or the Fourteenth. As discussed above, the Eleventh Amendment bars Plaintiffs’ taking
claims against the Governor in his official capacity. Those are the only takings claims available. See Katsaros v.
Serafino, 2001 WL 789322, at *5 (D. Conn. Feb. 28, 2001) (Dorsey, J.) (“Only governmental entities, and not
individuals, can be liable for takings violations.”); see also Bridge Aina Le’a, LLC v. State of Hawaii Land Use
Comm’n, 125 F. Supp. 3d 1051, 1078 (D. Haw. 2015), aff’d sub nom., 950 F.3d 610 (9th Cir. 2020) (“A number of
federal courts, among them the Fourth and Sixth Circuits, have also concluded that individual capacity defendants
are not liable for federal takings claims.” (citing cases)).
                                                       30
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 31 of 42



basis alone. Local 342, Long Island Pub. Serv. Employees, UMD, ILA, AFL-CIO v. Town Bd. of

Town of Huntington, 31 F.3d 1191, 1194-95 (2d Cir. 1994) (dismissing due process claims where

the plaintiff “demonstrated no protectible property interest”).

         Plaintiffs’ regulatory taking claims would still be subject to dismissal even if Plaintiffs

had alleged a protected interest for taking purposes. 21 The Supreme Court has applied the

principle underlying Jacobson to taking claims. United States v. Caltex, 344 U.S. 149 (1952), is

instructive. There, the Army destroyed oil companies’ terminal facilities to deprive the Japanese

of a “valuable logistic weapon” as they advanced following the attack on Pearl Harbor. Id. at

151. The Court of Claims initially granted the companies compensation for a constitutional

taking. Id. The Supreme Court reversed, noting that “the common law had long recognized that

in times of imminent peril—such as when fire threatened a whole community—the sovereign

could, with immunity, destroy the property of a few that the property of many and the lives of

many more could be saved.” Id. at 154. The Court had previously applied that principle to deny

recovery “to the owners of a factory which had been destroyed by American soldiers in the field

in Cuba because it was thought that the structure housed the germs of a contagious disease.” Id.

(citing Juragua Iron Co. v. United States, 212 U.S. 297 (1909)). The Court had also applied it to

actions taken by a state to limit the spread of disease outside the war context. See Miller v.

Schoene, 276 U.S. 272, 277-81 (1928) (holding that the Constitution did not require the state to

provide compensation to the owners of cedar trees that were ordered to be destroyed to prevent

the spread of disease to apple trees).


21
   Coll. Sav. Bank establishes that Plaintiffs do not allege a due process protected interest. That should be fatal to
their claims. To the extent Plaintiffs seek to rely on some other interest not identified in their Second Amended
Complaint to support their taking claim, the Court should be cognizant that “‘property’ as used in” the taking
context “is defined much more narrowly than in the due process” context for both historical and practical reasons.
Pittman v. Chicago Bd. of Educ., 64 F.3d 1098, 1104–05 (7th Cir. 1995) (Posner, J.). Recognizing a protected taking
interest has significant constitutional consequences beyond those that attend due process interests. See id.
                                                         31
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 32 of 42



       There is no question that the pandemic has made this a “time[ ] of imminent peril.”

Caltex, 344 U.S. at 154. The Supreme Court has made clear that the Governor has the authority

to take action to protect the people in Connecticut from that peril without incurring constitutional

taking liability. See, e.g., In re Abbott, 954 F.3d at 784 (citing Caltex as an example of the

Jacobson principle in the context of this pandemic). The Supreme Court has long held that “the

mere fact that . . . regulation deprives the property owner of the most profitable use of his

property is not necessarily enough to establish the owner's right to compensation.” United States

v. Cent. Eureka Mining Co., 357 U.S. 155, 168 (1958). In the emergency context, the Court has

“been reluctant to find that degree of regulation which, without saying so, requires compensation

to be paid for resulting losses of income.” Id. (in the context of war). “The reasons are plain.” Id.

Responding to an emergency of this scope “demands the strict regulation of nearly all resources”

and makes “demands which otherwise would be insufferable.” “But . . . economic restrictions,

temporary in character, are insignificant when compared to the widespread uncompensated loss

of life and freedom of action which” accompany this pandemic. Id.

       This Court need not address any limits federal takings jurisprudence may place on the

Governor’s authority to respond to this pandemic because Plaintiffs’ takings claims would fail

even outside the emergency context. Cf. Keystone Bituminous Coal Ass’n v. DeBenedictis, 480

U.S. 470, 490–93 (1987) (holding that restraint of property use was justified under the Miller line

of cases but also noting that “we need not rest our decision on this factor alone, because” the

plaintiff’s showing was insufficient under the ordinary test as well). Plaintiffs acknowledge that

even before restrictions were recently loosened the Orders “allow[ed] restaurants and bars to sell

alcohol for off premises consumption provided that it was sold in a sealed container and that it

accompanied an order of food,” 2dAC, ¶ 21, and Plaintiffs allege no facts indicating that—

                                                 32
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 33 of 42



despite that explicit allowance—the Orders “deprive[ Plaintiffs] of the value of their property”

for takings purposes. Id. at ¶ 74. Nor is that conclusion evident. See, e.g., Murr v. Wisconsin, 137

S. Ct. 1933, 1942 (2017) (holding that a categorical taking occurs only where a regulation

“denies all economically beneficial or productive use of land”); see also Wolf, 227 A.3d at 893–

96 (rejecting takings challenge to a Governor’s Executive Order issued in response to this

pandemic and citing cases, including Nat’l Amusements Inc. v. Borough of Palmyra, 716 F.3d 57

(3d Cir. 2013)). Takings law is “characterized by ad hoc, factual inquiries, designed to allow

careful examination and weighing of all the relevant circumstances.” Murr, 137 S. Ct. at 1942

(quotation marks omitted). Even after this Court has given them opportunities to amend,

Plaintiffs still fall far short of asserting sufficient facts to survive this Motion to Dismiss.

VI.     The Governor is Immune from Plaintiffs’ Individual Capacity Claims for Damages

        This Court should dismiss all of Plaintiffs’ federal claims against the Governor for the

reasons discussed above. If this Court disagrees in whole or in part, it should still dismiss

Plaintiffs’ individual capacity claims for damages. Supreme Court and Second Circuit precedent

establishes that the Orders are considered legislative acts for immunity purposes and that the

Governor is absolutely immune from damages claims as a result. In the alternative, qualified

immunity protects the Governor from individual capacity damages liability given that he issued

the challenged Orders in response to an admittedly unprecedented pandemic and there is no

clearly established law even implying that the Orders exceeded the Governor’s authority.

        A. Absolute Immunity Bars Plaintiffs’ Claims Based on the Governor’s
           Issuance of the Challenged Orders

        Plaintiffs’ claims against the Governor are based on generally-applicable Executive

Orders the Governor issued in response to the pandemic, pursuant to authority granted him by

the Connecticut General Assembly. 2dAC, ¶¶ 19-22; see also Conn. Gen. Stat. § 19a-13la, et
                                                   33
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 34 of 42



seq.; Conn. Gen. Stat. § 28-9, et seq. 22 The United States Constitution grants federal legislators

“absolute immunity from civil and criminal liability for conduct that falls ‘within the sphere of

legitimate legislative activity.’” NRP Holdings LLC v. City of Buffalo, 916 F.3d 177, 190 (2d Cir.

2019) (quoting Eastland v. U. S. Servicemen’s Fund, 421 U.S. 491, 503 (1975)). “The Supreme

Court has determined that, under the common law, state and local government officials similarly

enjoy absolute immunity against federal civil claims asserted against them in their individual

capacities for equivalent legislative activity.” Id. (citing Bogan v. Scott-Harris, 523 U.S. 44, 49

(1998)). The Court has held that immunity is necessary because “‘the exercise of legislative

discretion should not be inhibited by judicial interference or distorted by the fear of personal

liability.’” Id. (quoting Bogan, 523 U.S. at 52).

        The immunity “attaches to particular types of conduct, not to particular job titles.” Id. at

191 (emphasis in the original). As a result, the Supreme Court has extended legislative immunity

to executive officials (such as a mayor) and to a state supreme court, when it issued an attorney

code of conduct. See id. (citing cases). “Analysis of the function at issue is therefore critical to a

determination of whether legislative immunity will shield a defendant.” Id.

        The Second Circuit has adopted a two-factor test to determine whether an act is

legislative and, therefore, accorded absolute immunity:

        First, it is relevant whether the defendants’ actions were legislative in form, i.e.,
        whether they were integral steps in the legislative process. Second, it may also be
        relevant whether defendants’ actions were legislative in substance, i.e., whether
        the actions bore all the hallmarks of traditional legislation, including whether they
        reflected discretionary, policymaking decisions implicating the budgetary
        priorities of the government and the services the government provides to its
        constituents.

NRP Holdings LLC, 916 F.3d at 191–92 (quoting State Emps. Bargaining Agent Coal. v.

22
  Plaintiffs do not allege that the Governor exceeded his statutory authority under Connecticut law, nor would there
be any basis for such an allegation.
                                                        34
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 35 of 42



Rowland, 494 F.3d 71, 89 (2d Cir. 2007) (emphasis in original)). The Governor’s enactment of

the Orders satisfies both prongs.

        An act is procedurally legislative, i.e., legislative in form, if “passed by means of

established legislative procedures.” Baraka v. McGreevey, 481 F.3d 187, 198 (3d Cir. 2007)

(internal quotation marks omitted). In other words, “constitutionally accepted procedures of

enacting the legislation must be followed in order to assure that the act is a legitimate, reasoned

decision representing the will of the people which the governing body has been chosen to serve.”

Id. (internal quotation marks omitted); see also Rowland, 494 F.3d at 89, 94 (citing Baraka with

approval).

        All of the Orders at issue in this case were enacted after the Governor declared public

health and civil preparedness emergencies (A-20), through a process established by the General

Assembly. Conn. Gen. Stat. §§ 28-9 and 19a-131a authorize the Governor to declare a state of

civil preparedness emergency and a public health emergency respectively. The General

Assembly may disapprove both declarations. Conn. Gen. Stat. § 28-9(a); Conn. Gen. Stat. § 19a-

131a(b)(1).

        The issuance of the Orders themselves was authorized by § 28-9. Subsection (b)(1)

permits the Governor to:

        modify or suspend in whole or in part, by order as hereinafter provided, any
        statute, regulation or requirement or part thereof whenever the Governor finds
        such statute, regulation or requirement, or part thereof, is in conflict with the
        efficient and expeditious execution of civil preparedness functions or the
        protection of the public health.

Conn. Gen. Stat. § 28-9(b)(1). “Any such order shall have the full force and effect of law upon

the filing of the full text of such order in the office of the Secretary of the State.” Id. In addition,

subsection (b)(7) grants the Governor the authority to “take such other steps as are reasonably

                                                  35
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 36 of 42



necessary in the light of the emergency to protect the health, safety and welfare of the people of

the state . . . .” Conn. Gen. Stat. § 28-9(b)(7).

        Thus, the General Assembly has provided a process by which the Governor can

effectively enact legislation during a civil preparedness or public health emergency. Should the

General Assembly disagree with an Order issued by the Governor under that authority, the

General Assembly may disapprove it through the procedure established in subsection (a).

Plainly, the Governor’s enactment of the Orders was legislative in form or procedure. Not only

were the Governor’s Orders “integral steps on the legislative process,” NRP Holdings LLC, 916

F.3d at 191, they were the legislative process as conceived by the General Assembly itself.

        With respect to the second legislative immunity factor, acts are legislative in substance or

“legislative in character” when they “involve policy-making decision [sic] of a general scope.”

Baraka, 481 F.3d at 198 (quotation marks omitted). “[T]o put it another way, legislation involves

line drawing. Where the decision affects a small number or a single individual, the legislative

power is not implicated, and the act takes on the nature of administration.” Id. (quotation marks

omitted); compare Bogan, 523 U.S. at 55–56 (finding ordinance legislative in nature because it

“reflected a discretionary, policymaking decision implicating the budgetary priorities of the city

and the services the city provides to its constituents”), with Harhay v. Town of Ellington Bd. of

Educ., 323 F.3d 206, 211 (2d Cir. 2003) (finding Board action not legislative in substance

because the Board “did not engage in the kind of broad, prospective policymaking that is

characteristic of legislative action”).

        The Orders at issue are quintessentially legislative in nature. They apply to every person

in Connecticut and concern policy-making at the highest level—the State’s coordinated response

to a pandemic never before seen in our lifetimes based, in part, on the recommendations of the

                                                    36
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 37 of 42



United States Centers for Disease Control and the Connecticut Department of Public Health.

Thus, the Orders satisfy the second prong of the legislative immunity test. Given the above,

absolute immunity protects the Governor from any individual capacity damages claims based on

his issuance of the Orders.

       B. Even if Absolute Immunity Did Not Bar Plaintiffs’ Individual Capacity
          Damages Claims, Qualified Immunity Would

       The Supreme Court has repeatedly recognized and reiterated that if absolute immunity is

not available, for reasons “important to society as a whole” qualified immunity separately grants

officials “immunity from suit” that “is effectively lost if a case is erroneously permitted to go to

trial” and therefore should be decided as early in the case as possible. White v. Pauly, ___ U.S.

___, 137 S. Ct. 548, 551 (2017) (Per Curiam) (quotation marks omitted). Qualified immunity

recognizes that “[f]or constitutional suits like this one to deter misconduct, without also deterring

citizens from taking jobs in the public sector, [officials] must be able to understand the legal

constraints on their conduct.” Moore v. Andreno, 505 F.3d 203, 214 (2d Cir. 2007).

       Consistent with that principle, in determining whether qualified immunity protects an

official, “‘[t]he dispositive question is ‘whether the violative nature of particular conduct is

clearly established.’” Ziglar v. Abbasi, ___ U.S. ___, 137 S. Ct. 1843, 1866 (2017) (quoting

Mullenix v. Luna, 577 U.S. ____, 136 S. Ct. 305, 308 (2015) (Per Curiam) (emphasis in

Mullenix)). For an official to lose immunity, “‘in the light of pre-existing law,’ the unlawfulness

of the offic[ial]’s conduct ‘must be apparent,’” id. at 1867 (quotation marks omitted), and

“beyond debate.” Mullenix, 136 S. Ct. at 308. Put differently, an official is immune from liability

unless, under the particular circumstances the official faced, any “reasonable offic[ial]” would

have “known for certain that the[ir] conduct was unlawful” under existing established precedent.

Ziglar, 137 S. Ct. at 1867.
                                                 37
        Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 38 of 42



        The Governor is clearly protected by, at least, qualified immunity here. There is no

dispute that this pandemic is unprecedented and—as discussed above—Plaintiffs’ claims have

little, if any, support in the facts and the law. Compl., ¶ 1.

        There is absolutely no basis to conclude that any Governor in this Governor’s shoes

would have known for certain that it was beyond debate that the challenged Orders were

unconstitutional. See, e.g., Ziglar, 137 S. Ct. at 1867; Mullenix, 136 S. Ct. at 308; see also

Liberian Cmty. Ass’n of Connecticut v. Malloy, 2017 WL 4897048, at *8-14 (D. Conn. Mar. 30,

2017) (Covello, J.) (appeal pending) (holding that qualified immunity barred individual capacity

damages claims against the then-Commissioner of Public Health arising out of Ebola

quarantines); Hickox v. Christie, 205 F. Supp. 3d 579, 588-603 (D. N.J. 2016) (holding that

qualified immunity barred individual capacity damages claims against defendants including a

Governor arising out of Ebola quarantine). The Governor is “deal[ing] in a terrible context . . .

[where] the consequences of mistaken indulgence can be irretrievably tragic.” United States ex

rel. Siegel v. Shinnick, 219 F. Supp. 789, 790, 791 (E.D.N.Y. 1963). Qualified immunity should

protect him from Plaintiffs’ claims, which have no basis in either the law or the facts.

VII.    The Court Should Decline to Exercise Supplemental Jurisdiction over Plaintiffs’
        State-Law Claims

        This Court should decline to exercise supplemental jurisdiction over Plaintiffs’ state

constitutional claims to the extent, if any, Plaintiffs seek damages based on those claims and

Plaintiffs’ federal claims are dismissed. 23 “[A]s a general proposition . . . if [all] federal claims

are dismissed before trial . . . the state claims should be dismissed as well.” Motorola Credit




23
   As discussed above, the Supreme Court has made clear that this Court lacks jurisdiction over Plaintiffs’ state
constitutional claims to the extent they seek relief other than damages. See, e.g., Dennehy, 2018 WL 4936003, at *2
(citing Pennhurst, 465 U.S. at 106).
                                                        38
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 39 of 42



Corp. v. Uzan, 388 F.3d 39, 56 (2d Cir. 2004) (emphasis in original) (internal quotation marks

omitted).

        The Second Circuit “has concluded that declining to exercise jurisdiction after all

original-jurisdiction claims have been dismissed is especially appropriate where the pendent

claims present novel or unsettled questions of state law.” Oneida Indian Nation of New York v.

Madison Cty., 665 F.3d 408, 437 (2d Cir. 2011) (“Oneida”); see also 28 U.S.C. § 1367(c)(1).

That is the case here.

        Connecticut courts have not defined the parameters of the Connecticut Constitution in

this pandemic, which poses unprecedented and important issues. For example, the Connecticut

Supreme Court has held that not all violations of the Connecticut Constitution give rise to

damages claims and has established a framework for determining when a damages remedy is

available. See Binette v. Sabo, 244 Conn. 23 (1998). Connecticut courts have not recognized a

Binette remedy in circumstances remotely analogous to these. Given that Plaintiffs may be

“seeking to extend the narrow holding of Binette . . . well beyond the limits established by the

Connecticut Supreme Court in that case, . . . any decision to so substantially extend Connecticut

constitutional law in this manner should be made in the first instance by the courts of

Connecticut, not a federal court.” Lopez v. Smiley, 375 F. Supp. 2d 19, 23 (D. Conn. 2005)

(Kravitz, J.). That weighs strongly against this Court exercising supplemental jurisdiction over

Plaintiffs’ state constitutional claims “(both those seeking monetary damages and those seeking

injunctive or declaratory relief).” Id. at 26.

        That is far from the only example of a novel and complex issue Plaintiffs’ state

constitutional claims would raise. If this Court concludes that Plaintiffs’ federal claims should

not proceed here, “federalism and comity concerns strongly suggest that” issues regarding the

                                                 39
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 40 of 42



state constitutional parameters of the Governor’s pandemic response authority “should be

determined on a case-by-case basis by Connecticut courts in the first instance.” Id. at 26

(emphasis in Lopez). That is particularly true given that the United States Supreme Court has

made clear that “[t]he safety and the health of the people of” a state “are, in the first instance, for

that [state] to guard and protect.” Jacobson, 197 U.S. at 38.

       Although the argument against this Court exercising supplemental jurisdiction is

strongest if this Court holds that all of Plaintiffs’ federal claims against all Defendants should be

dismissed, this Court can—and should—also decline to exercise supplemental jurisdiction over

Plaintiffs’ state claims to the extent they will “substantially predominate[ ] over” any federal

claims that remain following motions to dismiss. 28 U.S.C. § 1367(c)(2); see, e.g., Cotterell v.

Gen. Motors LLC, 2019 WL 6894256, at *11 (D. Conn. Dec. 18, 2019) (Shea, J.) (“find[ing] that

§ 1367(c)(2) applie[d]”). Similarly, depending on the state of the claims following this Motion to

Dismiss, this case may present “exceptional circumstances,” where “there are other compelling

reasons for declining jurisdiction.” 28 U.S.C. § 1367(c)(4); see, e.g., Oneida, 665 F.3d at 437

(noting this provision). Ultimately, given the nature of these issues and the state’s primary role in

pandemic response, there are multiple reasons why this Court should decline to exercise

supplemental jurisdiction or pendent party jurisdiction over Plaintiffs’ state claims. See, e.g.,

Oneida, 665 F.3d at 436-40 (applying multiple provisions and holding that supplemental

jurisdiction over the plaintiff’s state claims was not appropriate even though a federal claim

remained).

VIII. Conclusion

       For the reasons set forth above, the Governor respectfully requests that this Court dismiss

Plaintiffs’ claims against him in their entirety.

                                                    40
Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 41 of 42



                                    Respectfully submitted,

                                    DEFENDANT

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                               41
       Case 3:20-cv-00464-MPS Document 48-1 Filed 07/08/20 Page 42 of 42



                                CERTIFICATE OF SERVICE
       I hereby certify that on July 8, 2020, a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


                                                     /s/ Robert J. Deichert
                                                     Robert J. Deichert
                                                     Assistant Attorney General




                                               42
